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24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

ITEM NUMBER: WARRANT NUMBER:
F-21850-22

AFFIDAVIT FOR ARREST WARRANT

STATE OF LOUISIANA

VERSUS
ARMANDO JACOB WILLIAMS - BLACK/AFRICAN AMERICAN/MALE

DOB: 03-23-2001

3339 Bruxelles St New Orleans, Louisiana 70122 :
DLAD #: 11924458 SSN: XXX-XX-XXXX P ESTEE s
Height: ’ ” Weight: 130 i

Eye Color: Brown Hair Color: Black fad
D/M:

I, Detective Andrew R Bartholomew, with the Jefferson Parish Sheriff's Office, certify under oath based
on the information outlined below, that there is probable cause to believe Armando Jacob Williams on or

about the date(s) of 06-23-2022 did commit:

1 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)
1 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)
1 Count(s) of 14:67 B3-- Theft $1000 but less than $5000 (Felony)-- (Felony)

within this State and Parish at: 2019 Metairie Road, Metairie, La 70003 in Jefferson Parish and the
jurisdiction of the 24th Judicial District Court, contrary to the form of the statutes of the State of
Louisiana in such case made and provided, and against the peace and dignity of the same, in that the

following did occur:

On July 6, 2022, Detective Bartholomew of the Criminal Investigations Bureau- Economic Crimes
Section, was assigned the follow-up investigation of a theft.

On June 30, 2022, the victim and storeowner of Second Act consignment store, Pamela Baldassaro,
reported that on June 22, 2022 at approximately 1630 hours, two unknown black males entered her store
and purchased a black Chanel purse for $5,241.60 and a brown Louis Vuitton purse for $3,057.60. These
items were purchased with a MasterCard ending in 6002. Upon viewing the video, the Deputy observed
one heavy set black male, clad in a white t-shirt and blue jeans with a fanny pack on his shoulder, The
second black male was thin, with braided hair, facial hair, clad in a white t-shirt and blue jeans. The
heavyset black male attempted to enter the credit card number into the machine. After several attempts,
the transaction was granted, purchasing the black Chanel purse and brown Louis Vuitton purse.
Baldassaro then advised that on June 23, 2022 at approximately 1650 hours, a different pair of two
unknown black males entered her store and purchased a red Chanel purse for $4,586.40. This item was
also purchased with a MasterCard ending in 6002. Upon viewing the video, the Deputy observed one
black male was thin, wearing a blue hat, blue shirt with a design, blue jeans and yellow shoes. The second

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was medium build black male, with braided hair, clad in a black shirt with dark writing, dark colored
sweat pants with bright writing and blue colored shoes. The thin black male in the blue hat, 1s observed
looking at his phone while writing on a small piece of paper for the employee. This suspect conducted one
transaction that was approved for a total of $4,586.40.

Baldassaro stated on June 30, 2022, she was contacted by Hancock-Whitney Bank, and was advised that
the charges were disputed by the owner of the MasterCard and reimbursement would not be

issued. Pamela was able to confirm the two purchases on June 22 and June 23 were made using the same
credit card information.

Baldassaro advised that she attempted to file for reimbursement through their merchant service, First
Data, and was advised they would not provide reimbursement since the customer entered the card
information manually.

Baldassaro was not working the two days the incidents occurred, but spoke with her employees in regards
to what happened. Baldassaro's employee advised on June 22, 2022, the suspect stated he was going to
pay via Apple Pay, but after "attempting," he stated, "I'll just put the numbers in." The suspect attempted
eight transactions, which were declined, and then two transactions that were approved. One for $5,241.60
and one for $3,057.60, totaling $8,299.20.

Detective Jody Kaough was notified of the incident while assigned evening duty, and responded to the
scene where he obtained a USB copy of video surveillance, and copies of each receipt for all declined
transactions and confirmed transactions. Detective Kaough forwarded the information and evidence to
Detective Bartholomew.

Detective Bartholomew reviewed the surveillance video and was able to utilize still photographs from the
video to identify three of the four suspects.

Detective Bartholomew was advised by a credible source, the black male clad in the dark shirt and yellow
shoes from June 23, 2022, was Armando Williams. Detective Bartholomew conducted a search of the
name, which revealed a DMV photograph of a Armando Jacob Williams (B/M, DOB: 03/23/2001), which
appeared to match the description of the suspect from the surveillance video.

Detective Bartholomew requests an arrest warrant for the body of Armando Jacob Williams (B/M, DOB:
03/23/2001) for the charges of one count of RS14:67.16 C(1) Identity Theft $1000 or more, one count of
RS14:71.1 Bank Fraud, and one count of RS14:67 B(3) Theft $1000-4999.

[hereby certify under oath the information contained herein to be true and correct, to the
best of my knowledge, under penalties of perjury.

Detective Andrew R Bartholomew .
Affiant

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' wy.

Judge Paul Schneider

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

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